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I'.'ii`...L.l..J -/-` "'i 'J

IN THE UNITED STATES DISTRICT COURT

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FOR THE wEsTERN DISTRICT oF TENNE:§§EB;}X_ »5 P‘s"; c- 00
wEsTERN DIVISION

 

 

 

PHI LANDER BUTLER ,
Plaintiff,
vs. No. 04-2205-D/P

UNITED STATES OF AMERICA,

Defendant.

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ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL

 

Plaintiff Philander Butler, Bureau of Prisons (BOP) inmate
registration_ number 16665-076, an inmate at the United. States
Penitentiary(USP), in Pollock, Louisiana, filed a civil complaint
pursuant to 28 U.S.C. § 1361 to compel the United States to justify
its refusal to allow Court Reporter Mark Dodson to release a copy
of the resentencing transcript of Andre J. Johnson. On December 6,
2004, Butler filed a motion for the appointment of counsel. Butler
alleges that he has “extremely limited access to the law library”
and has “a limited knowledge of the law.”

A district court is vested with broad discretion in
determining whether to appoint counsel for an indigent civil
litigant. _§§ Lavado v. Keohane, 992 F.2d 601, 604-05 (6th Cir.
1993). Notably, however, appointment of counsel in a civil case is

not a constitutional right, and courts generally do not appoint

counsel in a civil case absent a showing of "exceptional

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circumstances.“ ;Q; at 605-06. In determining whether an
appointment is warranted, courts evaluate the type of case, the
complexity' of the factual and legal issues involved, and the
ability of the litigant to represent himself. gee idL at 606;
Kilgo v. Ricks, 983 F.2d 189, 193 (llth Cir. 1993)(“The key [for
determining whether exceptional circumstances exist] is whether the
prp §§ litigant needs help in presenting the essential merits of
his or her position to the court. Where the facts and issues are
simple, he or she usually will not need such help.") Appointment
of counsel in a civil case is not appropriate when a litigant‘s
claims are frivolous, or when the chances of success are extremely
slim. §§§ Lavado, 992 F.2d at 604-05; Maclin v. Freake, 650 F.Zd
885, 887 (7th_ Cir. 1981)("[B]efore the court is justified in
exercising its discretion in favor of appointment, it must first
appear that the claim has some merit in fact and law.").

In this case, the plaintiff's motion does not demonstrate the
existence of extraordinary circumstances that would warrant
appointment of counsel. The plaintiff's lack of legal expertise
does not serve to distinguish this case from the numerous other
cases in which counsel is not appointed. Moreover, the facts
concerning this claim are not complex. Butler has filed numerous
pleadings in this case, including his complaint and various
motions. Finally, the Court is aware that there is a severe
shortage of attorneys willing to accept appointment to prisoner

civil rights cases on a pro bono basis.

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Accordingly, the Court concludes that appointment of counsel
is not warranted and plaintiff's motion for appointment Of COunsel

is DENIED .

IT Is so oRDERED this j§z)*h&ay of June, 2005.

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‘BE NICE B. bONALD 7
UNI D sTATEs DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CV-02205 Was distributed by faX, mail, or direct printing on
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William W. Siler

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Philander Butler
USP-POLLOCK
16665-076

P.O. Box 2099
Pollock, LA 71467

Honorable Bernice Donald
US DISTRICT COURT

